   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 1 of 12 PageID #:1254




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
 ELIA IBARRA, individually, and on behalf of all        )
 others similarly situated,                             )
                                                        )
                               Plaintiff,               )
                                                        )
         v.                                             ) Case No. 1:20-cv-7015
                                                        )
 PROSPERA, LLC, PORTFOLIO HOTELS &                      ) Hon. Jorge L. Alonso
 RESORTS, LLC, MAVERICK HOTELS AND                      )
 RESTAURANTS, LLC, AND SOMNIUM                          ) Magistrate Judge Jeffrey I. Cummings
 HOSPITALITY GROUP, LLC                                 )
                                                        )
                               Defendants.              )

                     PROSPERA, LLC’S MOTION TO REINSTATE STAY

        Defendant Prospera, LLC (“Prospera”) respectfully requests this Court to reinstate the

discovery stay and stay these proceedings until the Seventh Circuit and Illinois appellate courts

issue three impending decisions that will determine whether Plaintiff’s claims are time-barred.

Prospera believes reinstating the stay is appropriate in view of this Court’s June 23, 2021 opinion

in Fleury v. Union Pacific Railroad Company, Case No. 20 C 390 (N.D. Ill. June 23, 2021) (Union

Pacific Order, Ex. A) granting a highly similar request. In Union Pacific, the Court recognized

that a stay pending those decisions would “facilitate the simplification of the issues in question

and reduce the burdens of litigation on the parties.” Id. at 5. The same is true here. If Tims and

Marion decide that BIPA claims are subject to a one-year limitation period and Cothron holds that

BIPA claims accrue only upon the first collection, then Plaintiff’s claims will be time-barred.

Because a modest delay to litigation will not unduly prejudice Plaintiff, the Court should grant a

stay.
   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 2 of 12 PageID #:1255




                                         BACKGROUND

       1.      Plaintiff was employed by Prospera from August 16, 2018 to September 5, 2019,

at the Hilton Chicago/Oak Brook Hills Resort Conference Center (the “Hotel”), located in Oak

Brook, Illinois. (Dkt. 42 at 2.) Plaintiff filed her Complaint on October 20, 2020, alleging Prospera

acquired her finger-scan data from her former employer, Portfolio Hotels, when Prospera took

over management of the Hotel. (Dkt. 1-1, ¶¶ 40, 58.) Portfolio Hotels allegedly collected Plaintiff’s

finger-scan data in April 2015 (id. ¶¶ 54-55) when the statute of limitations began to run on her

BIPA claims. Plaintiff also alleges Prospera required her and all hourly employees to scan their

fingers to enroll it its employee database. (Id. ¶¶ 41, 56.)

       2.      Pending decisions by (i) the Seventh Circuit Court of Appeals in Cothron v. White

Castle System, Inc., No 20-3202; (ii) the Illinois Appellate Court for the First Judicial District in

Tims v. Black Horse Carriers, Inc., Case No. 1-20-0562; and (iii) the Illinois Appellate Court for

the Third Judicial District in Marion v. Ring Container Techs., LLC, No. 3-20-0184, warrant a

stay. A stay also is appropriate pending the Illinois Supreme Court’s Decision in In re: McDonald

v. Symphony Bronzeville Park, LLC, No. 126511. Each of these cases addresses issues fundamental

to the viability of this litigation, and the outcomes of these appeals may compel dismissal of

Plaintiff’s claims here. In addition, recent developments on issues critical to this case also support

a stay now.

                         COTHRON, TIMS, AND MARION APPEALS

       3.      On November 9, 2020, the Seventh Circuit Court of Appeals granted a petition in

Cothron brought pursuant to 28 U.S.C. § 1292(b) that will address the following crucial issue

regarding BIPA claim accrual:

       Whether a private entity violates Sections 15(b) or 15(d) of [BIPA] only when it is
       alleged to have first collected or to have first disclosed [‘biometric data’] of an




                                                   2
   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 3 of 12 PageID #:1256




        individual without complying with those Sections, or whether a violation occurs
        under Sections 15(b) or 15(d) each time that a private entity allegedly collects or
        discloses the individual’s biometric data.

Order, Ex. B; see also Defendant White Castle System, Inc.’s Motion to Amend Ruling to Certify

Question for Appeal at 1, Cothron v. White Castle Sys., Inc., 1:19-cv-00382 (N.D. Ill. Aug. 17,

2020), Ex. C. Briefing in this case is expected to be completed by July 9, 2021 and oral argument

is set for September 14, 2021.

        4.      On April 23, 2020, the Illinois Appellate Court for the First Judicial District granted

a petition for interlocutory appeal under Illinois Supreme Court Rule 308 in Tims to determine

whether BIPA claims are governed by a one-year or five-year statute of limitations. Ex. D. Shortly

thereafter, the Illinois Appellate Court for the Third Judicial District granted a Rule 308 petition

in Marion to address whether a one-year, two-year, or five-year statute of limitations applies to

BIPA claims. Ex. E. Both cases are fully briefed.

        5.      Cothron, Tims, and Marion each have the potential to provide critical insight into

issues in this case, namely, whether Plaintiff’s BIPA claims – which Prospera contends accrued

when Plaintiff first scanned her finger to enroll in Portfolio Hotels’ timekeeping system in April

2015 or in August 2018 when Prospera took over management of the Hotel – are timely or are

instead barred under a one-year, two-year, or five-year statute of limitations. See Dunn v. Menard,

Inc., 880 F.3d 899, 905 (7th Cir. 2018) (“Where the Illinois Supreme Court has not ruled on an

issue, decisions of the Illinois Appellate Courts control, unless there are persuasive indications that

the Illinois Supreme Court would decide the issue differently.”).

        6.      Even if Plaintiff’s own claims are ultimately not time-barred, these appeals have

the potential to dramatically shape the remainder of this lawsuit by determining, and perhaps

greatly limiting, the size of the putative class. Staying this case in its entirety pending the resolution




                                                    3
   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 4 of 12 PageID #:1257




of these appeals is advisable while key issues regarding Plaintiff’s own claims, the scope and size

of the putative class, and consequently the extent of permissible discovery, remain in flux.

       7.      At least nine federal judges in Illinois, in addition to this Court, have stayed BIPA

cases pending the rulings in White Castle, Tims, and/or Marion. See, e.g., Hall v. Meridian Senior

Living, 21-cv-00055 (S.D. Ill. June 29, 2021) (“Hall Order”) (staying case pending Tims, Marion,

and Cothron) (Ex. F); Regan v. Bajco Illinois LLC, 21-cv-3064, 2021 WL 2025896 (C.D. Ill. May

21, 2021) (“Regan Order”) (staying case pending Tims, Marion, and Cothron)) (Ex. G); Herron v.

Gold Standard Baking, Inc., 20-cv-7469 (N.D. Ill. Apr. 9, 2021) (“Herron Order”) (staying case

pending Tims, Marion, and Cothron) (Ex. H); Kyles v. Papa John’s Int’l, Inc., 1:20-cv-07146

(N.D. Ill. Mar. 4, 2021) (Blakey, J.) (Papa John’s Order) (Ex. I) (staying case pending Cothron

and McDonald); Donets v. Vivid Seats LLC¸ No. 1:20-cv-03551 at 4 (N.D. Ill. Dec. 15, 2020)

(Valderrama, J.) (“Donets Order”) (granting stay pending Cothron, Marion, and Tims) (Ex. J);

Varnado v. West Liberty Foods, 2021 WL 545628, at *1-*2 (N.D. Ill. Jan. 5, 2021) (staying

proceedings pending a decision in Tims because plaintiff did not file his BIPA claims within one

year, and the Tims decision would “control the statute of limitations issue); Roberson v. Maestro

Consulting Serv LLC, 2021 WL 1017127, at *2 (S.D. Ill. Mar. 17, 2021) (granting stay pending

decisions in Tims, Marion, and White Castle because they could control the timeliness issue and

guide the parties’ positions in the litigation); Wilson v. Am. Stair Corp. Inc., No. 1:20-cv-07321

(N.D. Ill. Feb. 22, 2021) (Wood, J.) (“Wilson Order) (granting stay pending the decision in Tims)

”) (Ex. K); Bell v. SDH Servs. W., LLC, No. 1:20-cv-01381 (N.D. Ill. Aug. 27, 2020) (Ellis, J.)

(“Bell Order”) (granting stay pending Tims) (Ex. L).

       8.      A stay is further supported by the recent decision in West Bend Mutual Insurance

Co. v. Krishna Schaumburg Tan, Inc., Case No. 2021 IL 12578, in which the Illinois Supreme




                                                 4
   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 5 of 12 PageID #:1258




Court affirmed that BIPA claims are publication-based privacy claims that accrue only once. In

West Bend, the court held that BIPA, as a whole, is designed to “protect[] a secrecy interest—here,

the right of an individual to keep his or her personal identifying information like fingerprints

secret.” Id. ¶ 46; see also Rosenbach v. Six Flags Entm’t Corp., 2019 IL 123186 ¶ 33 (BIPA claims

undoubtedly are claims for invasions of privacy). According to West Bend, once purported

biometric data is published by communication to a third party, the individual’s “right to keep

certain information confidential” is violated, and the data’s “secrecy” is lost. Id. ¶ 45.

       9.      In analyzing “publication” under Section 15(d) claims, West Bend implicitly

recognized that Section 15(a) and 15(b) claims are both subject to the one-year statute of

limitations. Id. at ¶ 43. Applying West Bend, all of Plaintiff’s BIPA claims are untimely. The

Illinois legislature enacted BIPA to protect biometric identifiers and information. Rosenbach, 2019

IL 123186, ¶ 37 (the “point of the law” is to prevent the “irreversible harm that could result if

biometric identifiers and information are not properly safeguarded”). BIPA accomplishes this goal

through Section 15(b)’s procedural “safeguards” of providing notice and obtaining consent. Id., at

¶ 36 (BIPA imposes “safeguards to insure that individuals’ and customers’ privacy rights . . . [are]

protected to begin with, before they are or can be compromised”). Similarly, Section 15(a)

provides further safeguards, requiring employers to follow established retention and destruction

schedules for biometric data. See Miller v. Southwest Airlines Co., 926 F.3d 898, 902 (7th Cir.

2019) (“[t]he longer data are retained, and the more people have access, the greater the risk of

disclosure”). West Bend also notes that BIPA, as a whole, is designed to “protect[] a secrecy

interest—here, the right of an individual to keep his or her personal identifying information like

fingerprints secret.” Id. at ¶ 46. This reaffirms the Illinois Supreme Court’s observation in

Rosenbach v. Six Flags Entm’t Corp., 2019 IL 123186, ¶ 34 that BIPA is designed to protect




                                                  5
    Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 6 of 12 PageID #:1259




privacy interests generally, and to guard against the loss of control over private data more

specifically.

        10.     It is likely that the Tims and/or Marion Court will apply West Bend to conclude that

the one-year statute of limitations applies to BIPA claims alleging improper disclosure of an

individual’s data, and likely to all BIPA claims, given that the disclosure of private data is what

the Illinois Legislature intended to prevent in enacting BIPA.1 Those holdings will likely be

controlling here2 and will compel dismissal of Plaintiff’s section 15(d) claim alleging that Prospera

“disclosed” her finger-scan data “to at least one third-party biometric timekeeping vendor” (compl.

¶ 46), and her section 15(a) and (b) claims.

        11.     Cothron also is likely to apply West Bend now that the Illinois Supreme Court has

expressly stated that BIPA claims are publication-based privacy claims and, consistent with the

single-publication rule, BIPA claims accrue only at first publication. Cothron is also likely to find

that West Bend’s holding that BIPA protects a “secrecy interest” supports BIPA claims accruing

at first publication, and that subsequent violations do not cause additional injury or give rise to

new claims, because once the privacy interest that BIPA protects has been shared, privacy is lost.

See Rosenbach, 2019 IL 123186, ¶¶ 36–37; McDonald, 2020 IL App (1st) 192398, ¶ 27.

                                       MCDONALD APPEAL

        12.     On January 27, 2021, the Illinois Supreme Court granted leave in McDonald to

appeal the issue of whether the Illinois Workers’ Compensation Act (“IWCA”) preempts claims



1
  On June 18, 2021, the defendant in Tims filed a Motion To Cite Supplemental Authority of West Bend
Mut. Ins. Co. v. Krishna Schaumburg Tan, Inc., 2021 IL 12597, arguing that “the issue in West Bend
overlaps with determining whether the privacy statute of limitations pursuant to 735 ILCS 5/13-201
(“Defamation—Privacy”) applies to alleged violations of BIPA §§15(a), 15(b) and/or 15(d).” (Ex. M, at 3).
The motion was quickly granted by the Illinois Appellate Court on June 21, 2021. (Ex. N).
2
  See Union Pacific Order at 4 (“And [the Tims and Marion ] decisions would likely be controlling here
since this Court is sitting in diversity and applying Illinois law here.”)




                                                   6
     Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 7 of 12 PageID #:1260




for liquidated damages against an employer accused of violating BIPA. Ex. O. A stay is appropriate

pending the Supreme Court’s decision in McDonald because the outcome of that appeal will

directly affect the viability of Plaintiff’s BIPA claims against Prospera.3 To wit, if the Supreme

Court decides in McDonald that the IWCA indeed bars BIPA claims brought against employers,

then dismissal of Plaintiff’s Complaint will be required.

        13.    While Prospera appreciates that courts have concluded the IWCA does not preempt

BIPA claims, the Illinois Supreme Court could very well reach the opposite conclusion, as one

federal district court recently observed in granting a stay pending McDonald.

        14.    In Jones v. IAS Logistics DFW, LLC d/b/a Pinnacle Logistics, No. 1:19-cv-02510

(N.D. Ill. Apr. 27, 2021) (“Jones Order”), Ex. P, Judge Kocoras rejected the argument that the

absence of courts finding in favor of IWCA preemption supported not granting a stay on this

“pivotal” and “dispositive” issue in BIPA litigation. To the contrary, he noted that the Illinois

Supreme Court’s decision to address a question of law about which the lower courts are largely in

agreement indicates that “the Illinois Supreme Court must be hinting at something,” id. at 3, and

in fact provides a ‘compelling reason’ to doubt that the Illinois Appellate Court ‘stated the law

correctly.’” Id. at 2 (quoting AAR Aircraft & Engine Grp., Inc. v. Edwards, 272 F.3d 468, 470 (7th

Cir. 2001)). Because, indeed, “if the Illinois Appellate Court’s conclusion were truly so firm, what

need would there be for the Illinois Supreme Court to take up the case?” Id. at 3. The fact that “the

Illinois Supreme Court might come out the other way” sufficed to show that the defendant had

“met its burden of demonstrating that a stay is warranted” pending the McDonald decision. Id. at

2.




3
 Courts throughout Illinois stayed BIPA cases while the Illinois Supreme Court considered its last BIPA
appeal in Rosenbach v. Six Flags Entm’t Corp., 2019 IL 123186.




                                                  7
   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 8 of 12 PageID #:1261




         15.    Judge Kocoras also concluded that awaiting the McDonald decision would

“meaningfully conserve judicial resources and avoid substantial prejudice to [the defendant]” if

there is a finding of preemption, id. at 3, which outweighed the minimal, speculative prejudice a

stay would cause plaintiff, whom the defendant no longer employed. Id. at 4. Consequently, the

Judge thoughtfully “exercise[d his] judicial experience and common sense to stay [the] case.” (Id.

at 3).

         16.    In short, the fact that the Illinois Supreme Court accepted the McDonald appeal,

despite the unanimity of trial courts on the issue and without first awaiting decisions by other state

courts of appeal (including the pending Marion appeal also involving IWCA preemption),

demonstrates that a stay is the “common sense” choice in BIPA lawsuits against employers.

         17.    Several other Illinois federal district courts have similarly granted (or continued)

stays to await the Illinois Supreme Court’s decision in the McDonald petition. E.g., Papa John’s

Order, Ex. I; Miller v. Jerry Erwin Assocs. LLC, No. 1:21-cv-01043 (C.D. Ill. Feb. 22, 2021)

(Long, M.J.) (Ex. Q); Wilson Order, Ex. K..

                                A STAY IS WARRANTED NOW

         18.    Accordingly, this Court should exercise its power to “stay proceedings as part of

its inherent authority to control the disposition of cases before it.” Philips Elecs., N.V. v. N.H. Ins.

Co., 295 Ill. App. 3d 895, 901 (1st Dist. 1998); see also Landis v. N. Am. Co., 299 U.S. 248, 254

(1936) (“[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants. How this can best be done calls for the exercise of judgment, which

must weigh competing interests and maintain an even balance.”); Ill. Sup. Ct. R. 308(e) (providing




                                                   8
   Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 9 of 12 PageID #:1262




that either the trial court or the appellate court may stay proceedings in the trial court pending an

interlocutory appeal).

       19.     A court assessing a motion for stay should consider whether staying the

proceedings has the potential to save time, money, and effort for everyone concerned and, if so,

weigh such benefits against potential hardships the stay will impose on the opponent. Landis, 299

U.S. at 254; see also State Farm Fire & Cas. Co. v. John, 2017 IL App (2d) 170193, ¶ 18 (“In

determining whether to stay proceedings, the circuit court has discretion to consider factors such

as the ‘orderly administration of justice and judicial economy . . . .”).

       20.     Because Cothron, Tims, Marion, and McDonald each has the potential to prevent

Plaintiff from succeeding with her BIPA claims against Prospera, granting a stay here will preserve

time and resources the parties would otherwise expend drafting and arguing motions, conducting

further discovery, and litigating potential discovery disputes, and will also preserve time the Court

would devote to resolving those motions and disputes – all of which may be mooted by one or

more of these decisions. See Union Pacific Order, Ex. A, at 6 (“the Court finds that the

simplifying-the-issue and reduce-the-burden factors weigh in favor of a stay”); Jones Order, Ex.

P, at 4 (concluding stay “would meaningfully streamline the issues and reduce the burden on the

parties and the Court”); Regan Order, Ex. G at *3—*4 (ordering stay because “the Tims and

Marion courts could provide clarity that could simplify the issues, streamline the trial, and reduce

the burden of litigation on the Parties” and “[t]he Cothron decision could also materially affect the

scope of the possible class claims”); Herron Order, Ex. H at 9 (holding stay would “simplify the

[statute of limitations and accrual] issues in question” and “reduce the burden of litigation on the

parties and the court”); Donets Order, Ex. J at 4 (finding that plaintiff’s “concerns do not justify




                                                  9
  Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 10 of 12 PageID #:1263




denying [defendant’s] request for a stay, taking into account the economies to be gained from

staying this litigation” and granting stay).

       21.     A stay is particularly appropriate considering this case is in discovery, and Plaintiff

is already seeking discovery about the prospective class. Proceeding with class discovery without

knowing when a BIPA plaintiff’s claims accrue and the proper statute of limitations creates

unnecessary inefficiencies. Discovery may need to be redone if the opinions in those cases alter

the class. Given the strong efficiencies that will be gained from clarifications in the law, the

benefits of a stay strongly outweigh the costs of one. Donets Order, Ex. J at 4 (holding stay

appropriate pending outcome in Cothron because of the ruling’s potential impact on class size);

Bell Order, Ex. L at 3 (granting stay pending Tims because ruling “could streamline discovery and

class certification proceedings”).

       22.     On the other hand, temporarily staying this case will not unduly prejudice Plaintiff

– who no longer works for Prospera – or the other putative class members. Courts in this district

have repeatedly held that any prejudice resulting from such a delay is not undue, particularly in

view of a stay’s benefit in terms of simplifying issues and reducing burden. See, e.g., Herron

Order, Ex. H at 11-12, (granting stay over plaintiff’s arguments that delay in litigation and potential

recovery was unduly prejudicial); Vaughan, 2020 WL 6262359, at *2 (stay while waiting appellate

decisions was unlikely to prejudice non-moving party); Donets Order, Ex. J at 4 (granting stay

over plaintiff’s objection to delay).

       23.     For these reasons, Defendant Prospera respectfully requests that the Court enter an

order reinstating the discovery stay and staying all proceedings pending decisions by the Seventh

Circuit Court of Appeals in Cothron v. White Castle Systems, No. 1: 2019 cv 00382; the Illinois

Appellate Court for the First Judicial District in Tims v. Black Horse Carriers, Inc., Case No. 1-




                                                  10
  Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 11 of 12 PageID #:1264




20-0562; the Illinois Appellate Court for the Third Judicial District in Marion v. Ring Container

Techs., LLC, No. 3-20-0184; and the Illinois Supreme Court in McDonald v. Symphony Bronzeville

Park, LLC, No. 1-19-2398.

 Dated: July 8, 2021                      Respectfully submitted,

                                          PROSPERA, LLC

                                          By: /s/ Erin Bolan Hines
                                             One of Its Attorneys

                                          Melissa A. Siebert (masiebert@shb.com)
                                          Erin Bolan Hines (ehines@shb.com)
                                          SHOOK, HARDY & BACON L.L.P.
                                          111 South Wacker Drive, Suite 4700
                                          Chicago, Illinois 60606
                                          Tel: (312) 704-7700
                                          Fax: (312) 558-1195
                                          Firm ID: 17044




                                               11
  Case: 1:20-cv-07015 Document #: 55 Filed: 07/08/21 Page 12 of 12 PageID #:1265




                                CERTIFICATE OF SERVICE

       I, Erin Bolan Hines, an attorney, hereby certify that on July 8, 2021 I caused a true and

correct copy of PROSPERA, LLC’S MOTION TO REINSTATE STAY to be served via the

court’s Electronic Case Filing system. Parties may access this filing through the Court’s system.

                                                /s/     Erin Bolan Hines
